       Case 2:24-cv-00088-JM Document 4-8 Filed 05/06/24 Page
                                                    EXHIBIT H 1 of 3




                         IN THE NI ED STATES DISTRICT COURT
                        FO THE EASTERN DISTRICT OF ARK NS S
                                    DELTA DIVISION

  STATE OF KANSAS,                              §
  ETAL.                                         §
                                                §
          Plaintiffs,                           §
                                                §
  v.                                            §
                                                §§ Civil Actio No. 2:24-cv-88-JM
  MERRICK GARLA D,
  ET.AL.                                        §
                                                §
          Defendants.                           §
                                                §
                                                §
                                                §
                                                §
                                                §
                                                §
                                                §
                                                §
                                                §
                                                §


                            DECLARATION OF BRET FA NING


I, Bret Fanning, declare as follows:

    1. lam over 18 years of age, have personal k owledge of the matters set forth herein, and am

       competent to make this Declaration.

   2. My name is Bret Fanning. I serve as the Excise Ta Administrator for the Wyoming

       De artment of Revenue. I can competently testify as to the contents of this Declaration if

       called upon to do so.

   3. In my capacity, I am responsible for the a ministration of Wyoming s excise tax s stem.

       This includes overseeing vendor licensing as well as the reporting and collection of excise

                                                1
   Case 2:24-cv-00088-JM Document 4-8 Filed 05/06/24 Page 2 of 3




    tax from transactions involving tangible personal property. As a result of my current duties,

   I am familiar with the Wyomin s t code and how it relates to both gun shows and online

    sale of firearms in the State of Wyoming.

4. Wyoming i poses an excise tax upon the sales price of tangible personal property within

   the State under Wyo. Stat. Ann. §§ 39-15-103 and 39-16-103. In most instances, such

   taxes are collected by licensed retail vendors directly from their customers. Those vendors

   then report and remit the collected tax to the Department of Revenue.

5. Most retail sales of fire rms in Wyoming are subject to the imposition of an e cise tax

   since those items fall within the statutory definition of tangible personal property under

   Wyo. Stat. Ann. §§ 39-15-101(a)(ix) and 39-16-101(a)(vi). Firearm sales may occur in

   “brick-and-mortar” shops, as internet purchases, or at gun show events. In each sales

   situation, the seller is generally required to collect and remit ta from customers.

6. There is an underlying State mandated 4% excise tax rate that applies to the sale of firearms

   at brick-and-mortar shops, at gun shows, and via the internet. In addition, each Wyoming

   county and local jurisdiction may further increase the tax rate above the 4% State mand ted

   excise ta rate.

7. For firearms sales conducted through the internet, the State imposes the obligation to

   collect e cise tax on non-Wyoming based sellers, if those sellers meet minimal statutory

   sales thresholds under Wyo. Stat. Ann. § 39-15-501.

8. If there is a decrease in firearm sales in Wyoming it ill naturally result in a decrease in

   State e cise tax revenue.




                                             2
      Case 2:24-cv-00088-JM Document 4-8 Filed 05/06/24 Page 3 of 3




   I declare under penalty of perjury under the laws of the United States of American and the

State of Wyoming that the foregoing is true and correct.

   Executed on M y J , 2024.




                                                    BRET FANNING
                                                    Excise Tax Administrator, Wyoming
                                                    Department of Revenue




                                                3
